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                                                                       EXHIBIT 21
                                                                           MNK 10-K 9.29.17
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                                                                                         PAGE # 2
    As of December 29, 2017, we were, and expect to remain, in compliance with the provisions and covenants associated with our
debt agreements.

     In November 2015, our Board of Directors authorized us to reduce our outstanding  g debt at our discretion. As market conditions
warrant, we may from time to time repurchase debt securities issued by us, in the open market, in privately negotiated transactions, by
                                                  y will depend
tender offer or otherwise. Such repurchases, if any,       p    on pprevailing
                                                                             g market conditions, our liquidity
                                                                                                        q     y requirements
                                                                                                                  q          and other
factors. The amounts involved may be material. During fiscal 2017, we repurchased debt that aggregated to a principal amount of
$66.9 million.
     For additional information regarding our debt agreements, refer to Note 13 of the Notes to Consolidated Financial Statements
included within Item 8. Financial Statements and Supplementary Data of this Annual Report on Form 10-K.


Capitalization
     Shareholders' equity was $6,522.0 million at December 29, 2017 compared with $4,984.3 million at December 30, 2016. The
increase in shareholders' equity is primarily attributed to the increase in retained earnings primarily due to a one-time tax benefit from
the Reorganization and the TCJA.
    During December 2017, we canceled approximately 26.5 million treasury shares. Irish law requires a company's treasury share
value to represent less than 10% of Company capital. The cancellation of treasury shares had a net zero impact on shareholders' equity
as $5.3 million was reflected in both common stock and additional paid in capital.

     On November 19, 2015, the Company's Board of Directors authorized a $500.0 million share repurchase program (the "November
2015 Program"), which was completed in the three months ended December 30, 2016. On March 16, 2016, the Company's Board of
Directors authorized an additional $350.0 million share repurchase program (the "March 2016 Program"), which was completed
during the three months ended March 31, 2017. On March 1, 2017, the Company's Board of Directors authorized an additional $1.0
billion share repurchase program (the "March 2017 Program"), which commenced upon the completion of the March 2016 Program.
The March 2017 Program has no time limit or expiration date, and the Company currently expects to fully utilize the program.


Dividends
     We currentlyy do not anticipate
                                p ppaying
                                        y g any y cash dividends for the foreseeable future, as we intend to retain earnings
                                                                                                                          g to finance
acquisitions,
  q           R&D and the operation
                              p        and expansion
                                              p        of our business. The recommendation, declaration and payment of dividends in the
future by us will be subject to the sole discretion of our Board of Directors and will depend upon many factors, including our financial
condition, earnings, capital requirements of our operating subsidiaries, covenants associated with certain of our debt obligations, legal
requirements, regulatory constraints and other factors deemed relevant by our Board of Directors. Moreover, if we determine to pay
dividends in the future, there can be no assurance that we will continue to pay such dividends.




Commitments and Contingencies
Contractual Obligations
     The following table summarizes our contractual obligations as of December 29, 2017 (dollars in millions):

                                                                                                               Payments Due By Period
                                                                                                 Less than 1                                                       More than 5
                                                                             Total                  year               1 - 3 years           3 - 5 years             years
Long-term debt obligations                                             $         6,806.6     $           314.0     $           937.4     $         1,836.3     $         3,718.9
Interest on long-term debt obligations (1)                                       1,730.7                 299.4                 601.0                 544.5                285.8
Capital lease obligations (1)                                                          0.2                 0.2                       —                     —                 —
Operating lease obligations                                                          150.9                23.1                  36.6                  29.6                 61.6
Purchase obligations (2)                                                             311.7               122.6                 133.2                  31.5                 24.4
Total contractual obligations                                          $         9,000.1     $           759.3     $         1,708.2     $         2,441.9     $         4,090.7

           (1)   Interest on long-term debt obligations and capital lease obligations are projected for future periods using interest rates in effect as of December 29,
                 2017. Certain of these projected interest payments may differ in the future based on changes in market interest rates.
           (2)   Purchase obligations consist of commitments for purchases of goods and services made in the normal course of business to meet operational and
                 capital requirements.


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